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         ORAL ARGUMENT SCHEDULED FOR MAY 19, 2023
                        No. 23-5044


        UNITED STATES COURT OF APPEALS
      FOR THE DISTRICT OF COLUMBIA CIRCUIT

                            IN RE SEALED CASE


               On Appeal from the United States District Court
              for the District of Columbia, No. 1:23-SC-31-BAH
                     Before the Honorable Beryl A. Howell


              REPLY BRIEF FOR APPELLANT TWITTER



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                          SUMMARY OF ARGUMENT

      “[P]rior restraints on speech and publication are the most serious and the

least tolerable infringement on First Amendment Rights.” Nebraska Press Ass’n v.

Stuart, 427 U.S. 539, 559 (1976). Yet the government presses an approach that

would authorize prior restraints routinely. It concedes the public already knows it

is investigating former President Trump and has sought his confidential electronic

communications with close confidants. Thus, it also concedes that the only new

fact disclosing the Warrant would reveal is that the government sought his

electronic communications through Twitter. The government nowhere concretely

connects disclosure of that single fact to even the vague, non-statutory interests in

“secrecy” and “integrity” it invokes, let alone to the specific harms it must identify

under the Stored Communications Act. Strict scrutiny demands more.

      The government’s other positions are equally flawed. It identifies no harm

that would have arisen from waiting just 48 hours to adjudicate Twitter’s First

Amendment challenge before compelling production on the Warrant—let alone a

harm weighty enough to justify irreparably infringing Twitter’s right to speak

when it mattered most and precluding any opportunity for timely assertion of

executive privilege. Additionally, the government’s own authorities confirm that it

was unprecedented and unjustified to fine Twitter $350,000 for contempt after it

had substantially complied with the Warrant by the court’s deadline and required a



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mere 51 additional hours to clarify the Warrant’s scope and produce additional

data outside its standard tooling. The Court should reverse.

                                   ARGUMENT

I.    THE NON-DISCLOSURE ORDER VIOLATES THE STORED COMMUNICATIONS
      ACT AND THE FIRST AMENDMENT

      As Twitter explained (at 21-22), both the statute and First Amendment place

demanding burdens on the government to obtain a non-disclosure order. Section

2705(b) permits non-disclosure orders only if there is reason to believe disclosure

of the particular warrant “will result” in one of five enumerated harms. The First

Amendment further restricts such orders: as a content-based prior restraint on

speech, a non-disclosure order is impermissible unless the government proves it is

the least restrictive way to achieve a compelling government purpose. Nothing in

the government’s brief demonstrates that this is the “rare case[]” satisfying these

standards. Williams-Yulee v. Florida Bar, 575 U.S. 433, 444 (2015).1




1
 The government assumes strict scrutiny applies but muses in a footnote (at 19-20
n.3) that there are “good reasons not to apply” it. The Court need not reach that
question. Regardless, “an inchoate argument made only in a footnote is forfeited.”
Federal Express Corp. v. Department of Commerce, 39 F.4th 756, 766 & n.2 (D.C.
Cir. 2022). Plus, the government is wrong. See Twitter Br. 21-22.


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      A.     The Government Fails To Justify The Non-Disclosure Order
             Under The Stored Communications Act And First Amendment

             1.    The government still fails to explain how disclosure of the
                   Warrant would harm its investigation

      The government concedes several important facts. It concedes (at 23-25) the

public knows about the existence and subject of its investigations and the attendant

subpoenas issued to former President Trump’s close allies for their electronic

communications with him—meaning the public already knows the government is

specifically collecting his private electronic communications. See Twitter Br. 24-

27. The government identifies (at 23-24) only one fact that would be revealed by

disclosing the Warrant: existence of the Warrant.

      Strict scrutiny requires the government to offer “proof” of the “direct causal

link between” the non-disclosure order (“Order”) and its feared harms. Brown v.

Entertainment Merchs. Ass’n, 564 U.S. 786, 799-800 (2011). But the government

never explains how disclosing this one morsel of new—entirely predictable—

information would give Mr. Trump (or anyone else) “considerable ammunition”

for new obstructive efforts. U.S. Br. 24. As Twitter noted (at 25-26), given how

much information about the investigation is public, anyone inclined to destroy

evidence, intimidate witnesses, or seriously jeopardize the investigation already

has ample reason to do so irrespective of the Warrant.




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      The government has no direct response. Instead, it says (at 23-24) that what

is publicly known stems from intrepid journalism and the government’s inability to

gag grand jury witnesses. But the reasons why the information is already public

are irrelevant when assessing the constitutionally pertinent question: the effect of

further disclosure. Indeed, as Justice Department policy recognizes, the

government’s interest in preserving an investigation’s secrecy wanes as the

investigation “become[s] public” over time, however that happens. Twitter Br. 6-

7. Regardless, it was the government that generated the publicity by announcing

the investigations at press conferences and subpoenaing scores of witnesses,

including “blanket[ing] [Mr. Trump’s] aides with about 40 subpoenas” in one

week. Thrush et al., Justice Dept. Issues 40 Subpoenas in a Week, Expanding Its

Jan. 6 Inquiry, N.Y. Times (Sept. 12, 2022).

      Moreover, the government cannot explain how disclosing the Warrant could

enable Mr. Trump (or anyone else) to interfere with its investigations. The

government undisputedly knew before the Warrant’s original deadline that Twitter

preserved the responsive materials, see U.S. Br. 8, so it cannot have feared

spoliation. JA45-46, 387. And the government identifies no other evidence the

Warrant’s disclosure might affect. Nor does the government claim disclosure

would reveal the identity of any witness.




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         Without the proof that the First Amendment requires, the government—like

the district court (JA377-378)—claims (at 23 n.4) courts must defer to the

government’s judgment that the Order is justified, citing Holder v. Humanitarian

Law Project, 561 U.S. 1, 33 (2010). But Humanitarian Law Project deferred to

the government only because the case concerned international terrorism. See id. at

36. Outside that unusual context, strict scrutiny forbids such deference. See

Twitter Br. 24 (citing Brown, 564 U.S. at 799-800).

         Finally, as Twitter explained (at 26), the fact that so many subpoenas to Mr.

Trump’s confidants are public creates a distinct constitutional problem of

underinclusivity because the First Amendment ordinarily forbids content-based

prior restraints where the government has not restricted speech that “create[s] the

same problem[s].” Reed v. Town of Gilbert, 576 U.S. 155, 171-172 (2015). Such

underinclusivity casts doubt on whether the restraint truly is necessary to achieve a

compelling interest. The government’s only response (at 24-25) is, again, that

there is no legal power to prevent grand jury witnesses from disclosing their

subpoenas. But that is irrelevant; imposing a non-disclosure order on Twitter

creates a constitutionally intolerable regime under which only one actor is

prohibited from discussing the same subject about which many others are free to

speak.




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             2.     The government fails to justify its reliance on shifting and
                    undisclosed rationales

      As Twitter explained (at 28-30), the district court’s and the government’s

reliance on shifting and secret rationales undermined the Order procedurally and

substantively. The government attempts first to minimize the inconsistencies. As

to flight risk, the government disclaims (at 34) “rel[iance]” on it, but the district

court signed an order reciting it, JA1, and the government abandoned it not when

challenged by Twitter (JA178-179), but after the court agreed with Twitter that it

was meritless (JA195). As to other rationales, the government accuses (at 34)

Twitter of “speculat[ing]” about “shift[s]” and “inconsistency,” and claims (at 32)

that it alerted Twitter to its arguments’ “general purport.” But the government

does not dispute that the district court denied Twitter’s motion based on two

rationales—threats to law enforcement (JA377) and exposure of future

investigatory techniques (JA373)—absent from the Order and presented only ex

parte. That the government’s appellate brief shifts course again by saying nothing

about investigatory techniques and referring only obliquely to threats to law

enforcement (at 27) highlights the problems.

      Changing tack, the government excuses (at 33-34) its reliance on shifting

and secret rationalizations on the ground that non-disclosure orders should be

exempted from the procedural safeguards established in Freedman v. Maryland,

380 U.S. 51 (1965). But basic safeguards must accompany any prior restraint


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because, as Freedman said, “any system of prior restraints … bear[s] a heavy

presumption against its constitutional validity.” 380 U.S. at 57 (cleaned up)

(emphasis added). Even courts that have not required Freedman’s specific

procedures have still required procedures “which were robust and which resembled

the Freedman requirements in key respects.” Twitter, Inc. v. Garland, 61 F.4th

686, 702 (9th Cir. 2023). At minimum, that means “an adversary proceeding,”

Freedman, 380 U.S. at 58, without “post hoc rationalizations” or “shifting …

criteria,” City of Lakewood v. Plain Dealer Publishing Co., 486 U.S. 750, 758

(1988)—safeguards absent here.

             3.     The government has no defense to its impermissible reliance
                    on generalized, non-statutory harms

      Twitter showed (at 27-28) that the government’s heavy reliance on non-

statutory, highly generalized interests in investigative “secrecy” and “integrity”

could not satisfy the First Amendment or the Act. The government’s responses are

not only meritless but troubling.

      a.     The government does not deny that its generalized interests are

insufficient to satisfy the Act. Instead, it retreats to various procedural defenses,

all incorrect. For the first time, the government contends (at 16) Twitter “lacks

standing” to assert its statutory challenge. That position must be rejected because

it was forfeited and would render the Act unconstitutional by depriving Twitter of

the constitutionally mandatory safeguards against prior restraints just discussed:


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The First Amendment requires a meaningful opportunity to challenge the actual

basis of any prior restraint, including under the Act. Accordingly, courts have

consistently reviewed challenges to the government’s compliance with Section

2705(b)’s factors. E.g., United States v. Apollomedia Corp., 2000 WL 34524449,

at *3 (5th Cir. June 2, 2000) (per curiam); In re Grand Jury Subpoena Issued to

Twitter, Inc., 2017 WL 9287146, at *6 (N.D. Tex. Sept. 22, 2017).

       Next, the government contends (at 30-31) that a statutory challenge would

not make “practical sense” because Twitter lacks access to the government’s ex

parte submissions. Again, Twitter is constitutionally entitled to access sufficient to

facilitate meaningful adversarial process. And Twitter can and does explain (at 20-

30) why the government’s rationales are facially implausible or not cognizable

under the Act regardless of the government’s evidence.

       Finally, the government asserts (at 29 n.8) that Twitter forfeited any

statutory challenge by raising it for the first time in its reply in support of its

motion to vacate the Order. Twitter’s motion challenged the government’s

reliance on the Section 2705(b) rationales invoked in the Order, JA13-14, but

Twitter had no occasion to challenge the government’s reliance on non-statutory

factors until the government actually relied on them—which it did for the first time

in its opposition to that motion, JA287. Twitter duly contested the sufficiency of




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the non-statutory rationales under the Act in its reply to that opposition. JA310-

313.

       b.    In any event, Twitter concededly has standing to challenge reliance on

“secrecy” and “integrity” under the First Amendment.

       As Twitter explained (at 28), recitation of such vague interests cannot satisfy

the constitutional dictate that content-based prior restraints meet narrow, objective,

and definite standards. The government could almost always recite such interests,

and thus the First Amendment’s protections would be virtually meaningless—

especially if, as here, those interests are accepted absent any concrete connection

between disclosure and harm. See supra pp.3-4. Rather, prior restraints are

permitted only where “the substantive evil [is] extremely serious and the degree of

imminence extremely high.” Landmark Commc’ns, Inc. v. Virginia, 435 U.S. 829,

845 (1978). The government’s conclusory assertions fail that standard.

       Nor does protecting the “secrecy” and “integrity” of the grand jury justify

the Order, as the government suggests (at 21-22). Convening a grand jury does not

“draw a veil of secrecy” over every investigative action occurring in parallel.

Bartko v. Department of Justice, 898 F.3d 51, 73 (D.C. Cir. 2018) (cleaned up).

Further, even “grand juries must operate within the limits of the First

Amendment,” United States v. Dionisio, 410 U.S. 1, 11 (1973), and accordingly

courts have struck down laws that too sweepingly restrain grand jury witnesses’



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speech, which is the closest analogue to what the Order does here. E.g.,

Butterworth v. Smith, 494 U.S. 624 (1990). And if the Supreme Court has been

somewhat more receptive to such justifications in the grand jury context, that was

only because of a pre-Founding tradition of secrecy unique to grand jury

proceedings. See Douglas Oil Co. v. Petrol Stops Nw., 441 U.S. 211, 218 n.9

(1979). There is no such tradition regarding search warrants issued against

electronic communications providers.

      B.     The Government Fails To Show The Order Is Narrowly Tailored

      In its opening brief (at 31-34), Twitter showed that the Order was not

narrowly tailored because there are at least two less-restrictive alternatives (plus

combinations thereof): (1) disclosing only the fact of the Warrant or the Warrant

and Attachment A but not Attachment B; and (2) disclosing only to Mr. Trump’s

lawyer or to one of seven representatives designated to act on his behalf.

      The government’s argument (at 26) that the Order is “consistent with cases

permitting protective orders in civil” discovery is just an effort to smuggle

intermediate scrutiny from a distinct constitutional context. See Seattle Times Co.

v. Rhinehart, 467 U.S. 20, 33 (1984). Here, unlike in Seattle Times, the

government initiated contact with Twitter; Twitter is not seeking to wield the

government’s power (e.g., the coercive tool of civil discovery) to obtain




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information. Regardless, the government’s effort to reject Twitter’s proposed

alternatives would fail even under less exacting scrutiny.

      The government concedes that the district court failed to address the first

alternative. Instead, the government says (at 27) Twitter failed to raise it in its

vacatur motion. Not so: Twitter’s motion proposed “notify[ing] just its user of the

Warrant,” JA16, and explained this meant “notify[ing] its user … of the existence

of the Warrant,” id. (emphasis added); JA14. And the government’s claims (at 27)

that disclosing even such limited information would not “adequately protect [the]

investigation” and “could precipitate violence” are facially implausible. Twitter

explained (at 31) that those claims are premised on the disclosure of Attachment B,

which is not contemplated by this proposed alternative—and the government has

no answer.

      As to Twitter’s second alternative, the government’s contention (at 28) that

“some” of the designated representatives are objectionable concedes that “some”

others are not, and that is enough; Twitter did not propose disclosure to all the

representatives. The government then argues (at 28-29) that extending the Order to

prevent the recipient representative from disclosing to Mr. Trump is a separate

alternative that is both forfeited and not statutorily authorized. Both objections are

incorrect.




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      First, that feature is part-and-parcel of the proposal to allow Twitter to

disclose to a representative. Twitter identified the option of extending the Order to

the representative in response to the government’s suggestion that nothing would

stop the representative from just telling Mr. Trump. JA290-291. That is enough to

preserve the argument; Twitter was not required in its opening motion to anticipate

the government’s every possible objection. See United States v. Powers, 885 F.3d

728, 732 (D.C. Cir. 2018).

      Second, Twitter already cited (at 33) precedent recognizing the authority to

extend the Order to the representative, which the government ignores. At a

minimum, the All Writs Act supplies sufficient authority, as courts have

recognized in the context of grand jury subpoenas. See In re United States for an

Order Pursuant to 28 U.S.C. § 165J(a), 2017 WL 3278929, at *1 (D.D.C. July 7,

2017).

      Finally, contrary to the government’s assertion (at 28-29) that the

representative could not litigate an assertion of executive privilege without first

informing the former President, as Twitter explained (at 32), Mr. Trump has

already granted the designated representatives sufficient authority to do so—

authorizing them to act on his behalf “in all respects that pertain to the records of

[his] presidency.” JA135 (emphasis added).




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II.   THE GOVERNMENT FAILS TO JUSTIFY THE DISTRICT COURT’S DECISION
      ORDERING PRODUCTION PRIOR TO RESOLVING TWITTER’S FIRST
      AMENDMENT CHALLENGE

      A.     The Government Nowhere Disputes The Relationship Between
             Twitter’s Speech Interest And The Timing Of The Warrant

      As Twitter explained (at 35-42), the district court’s refusal to address

Twitter’s First Amendment claim before compelling compliance with the Warrant

denied Twitter the ability to speak when its speech mattered most. The

government rests (at 39) on the formal “separate[ness]” of the Warrant and Order

while disregarding their obvious connection: the value of Twitter’s speech was to

enable the listener to mount a viable constitutional challenge to the Warrant. The

government says nothing about Twitter’s ample case law stating that, when a

speaker aims to facilitate a third party’s action before a certain event, a prior

restraint must be analyzed in light of that event’s timing. See Twitter Br. 35-37.

Nor does the government address the many examples Twitter cited (at 41-42)—

including the Presidential Records Act—that combine notice and delayed

production to protect third-party interests.2




2
 Even if the district court’s order would ordinarily be reviewed for abuse of
discretion, see U.S. Br. 35 & n.9, here it is reviewed de novo because it presents a
First Amendment issue. See McTernan v. City of York, 577 F.3d 521, 526 (3d Cir.
2009) (factual findings “[o]rdinarily” reviewed for clear error require “independent
examination of the factual record … when First Amendment rights are
implicated”).


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      Instead, the government’s primary response is to highlight (at 40-42)

supposed “practical” and “logistical” problems with resolving the First

Amendment challenge first. But, the government never explains how the

additional 48 hours Twitter proposed to adjudicate the First Amendment challenge

(Br. 34) would have harmed the government’s interests, let alone how such harm

could outweigh the significant intrusion on Twitter’s rights. See Guffey v.

Mauskopf, 45 F.4th 442, 450 (D.C. Cir. 2022) (“logistical concerns” could not

“justify a ‘heavy burden’ on ‘First Amendment interests’”). And the government’s

reliance on hypotheticals (Br. 40-41) elides the distinctly compelling features of

this case: Twitter’s speech concerned a potential assertion of executive privilege

over the former President’s private communications (infra pp.16-18) where (1) the

investigations were unusually public (supra pp.3-4), (2) the non-disclosure order

invoked facially dubious grounds, and (3) the constitutional challenge would have

necessitated de minimis additional time. Requiring a district court, on these facts,

to resolve a First Amendment challenge before ordering production does not mean

the same would be required where, unlike here, the privilege at issue is less time-

sensitive, the investigation is less public, the relevant order contains no obvious

defects, or the government can articulate a concrete need for greater speed. Indeed,

even in the case the government cites (at 40) for its parade of delay-induced

dangers, the court decided Google’s challenge to the non-disclosure order before



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compelling production. See Google LLC v. United States, 443 F. Supp. 3d 447,

455 (S.D.N.Y. 2020).

      Finally, the government’s assertion (at 46-47) that Twitter cited no authority

requiring pre-enforcement review ignores the cases Twitter cited (at 41) permitting

pre-review challenges to search warrants, including, like here, where necessary to

protect a third party’s privilege. See In re Search Warrant Issued June 13, 2019,

942 F.3d 159, 183 (4th Cir. 2019). There is no material difference between pre-

enforcement and pre-review challenges; either way, the point is to afford an

opportunity for challenges before the privilege is spoiled and the speech

undermined. Indeed, Twitter offered to produce the data to the court to be held

pending adjudication of its First Amendment challenge. See Twitter Br. 14.

      The government also suggests (at 46-47) Zurcher v. Stanford Daily, 436

U.S. 547, 565-567 (1978), supports its contention that the basic procedures for

obtaining a warrant adequately protect First Amendment rights. Zurcher shows the

opposite: Where a prior restraint is challenged, those basic procedures do not

suffice. Id. at 566-567 (rejecting pre-production challenge because warrant

“carrie[d] no realistic threat of prior restraint”); accord United States v. Grubbs,

547 U.S. 90 (2006) (involving no prior restraint).




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      B.     The Government Fails To Show That Mr. Trump Lacked A
             Colorable And Time-Sensitive Privilege Claim

      As explained (Br. 37-38), Twitter’s speech concerned a colorable claim of

executive privilege that would be irreparably undermined by its production to

investigators. The government does not deny the time-sensitive nature of the

opportunity to assert the privilege. And it admits (at 46) the production included

32 direct message threads—precisely the sort of private communications triggering

a potential privilege claim. Instead, the government denies only that there was a

colorable privilege claim, baldly suggesting (at 42) that executive privilege cannot

be asserted by a former President and then arguing (at 43) that executive privilege

cannot be asserted against other executive officials because the privilege is “rooted

in the separation of powers.” But there is precedent supporting a privilege

assertion in these circumstances and none foreclosing it.

      The government dismisses (at 43-44) Nixon v. Administrator of General

Services, 433 U.S. 425, 448 (1977), because there the privilege assertion by a

former President against the Executive Branch was “[un]successful[].” But that

confuses whether the privilege applies and can be asserted with whether it was

overcome by countervailing interests under the circumstances. Specifically, the

Court held on those facts that the assertion “yield[ed]” to Congress’s goal of

preserving executive materials, after analyzing the “minimal nature of the intrusion

into … confidentiality” and the “safeguards built into the” statute. 433 U.S. at 454.


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If the government were correct that executive privilege could not be asserted by a

former President or to prevent intra-branch disclosures, there would have been no

reason to consider the strength of Congress’s interests or the extent of the

intrusion. Whether a privilege assertion by Mr. Trump is overcome by the

government’s interests or safeguards is precisely the issue that Twitter’s disclosure

to Mr. Trump would have facilitated, but the court’s ruling foreclosed.

      Likewise, the fact that the Archivist recently rejected Mr. Trump’s executive

privilege assertion directly against the incumbent President over documents

belonging to and already in the possession of the executive branch, see U.S. Br.

44-45, hardly resolves the question. To the contrary, the Archivist relied on those

specific facts and declined to decide that a former President could never assert

privilege against the Executive Branch. Letter from Debra Steidel Wall, Acting

Archivist of the United States, to Evan Corcoran 3 (May 10, 2022).

      The government also disregards Twitter’s point (Twitter Br. 39) that the

privilege is also meant to ensure full and frank communication between the

President and the President’s advisors, which is “fundamental to the operation of

Government.” United States v. Nixon, 418 U.S. 683, 708 (1974). As Twitter

explained (at 39), the prospect that a prosecutor, especially under a different

administration, could seize presidential communications could well chill those

candid discussions. The government offers no response.



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      At most, the applicability of executive privilege here is unsettled—and that

favors giving the former President (or his representative) an opportunity to air the

issue. The prospect that questions about the availability of executive privilege may

be resolved—or ignored—without such adversarial testing gravely threatens

Presidents’ ability to obtain candid advice through confidential communications.

      In any event, as Twitter explained (at 39-40)—and the government does not

contest—the Warrant did implicate separation of powers because former President

Trump’s private communications may well be presented to the grand jury.

      Finally, the government claims (at 45) Twitter “offered no support” for the

“speculative premise” that the private messages Mr. Trump sent during his

Presidency “could contain” privileged presidential communications. But as

Twitter explained (at 12), Mr. Trump relied on Twitter heavily “for conducting

official business.” Knight First Amend. Inst. at Columbia Univ. v. Trump, 928

F.3d 226, 232 (2d Cir. 2019), judgment vacated on other grounds sub nom. Biden

v. Knight First Amend. Inst., 141 S. Ct. 1220 (2021). Likewise, the National

Archives treats Mr. Trump’s Twitter account as a repository of official records.

See id. It is at least plausible he used Twitter’s private messaging for official

confidential communications—the sort that could trigger executive privilege.




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      C.     Twitter’s Challenge To The Underlying Order Is Not Moot

      As Twitter explained (at 42), and the government concedes, “the district

court’s refusal to postpone compliance with the Warrant while adjudicating

Twitter’s First Amendment challenge formed the basis for the contempt fines

against Twitter.” And the government agrees (at 48) this Court can remedy that

erroneous contempt order by vacating the sanctions. The district court’s refusal to

postpone compliance thus presents a live dispute: That decision injured Twitter by

leading to sanctions against it, and those sanctions may be undone. It is irrelevant

that a different injury the court’s decision caused—Twitter’s compelled premature

transfer of Mr. Trump’s communications—might be irremediable. See U.S. Br.

38-39. Even where a party has already “turned over … [the] documents”

demanded by a court order, a court may “consider the merits” of that underlying

order so long as “monetary fees” for a resulting contempt order remain at issue. In

re Grand Jury Subpoena (T-112), 597 F.3d 189, 194-195 (4th Cir. 2010). That is

the case here, and Twitter’s challenge is therefore not moot.

      The government cites (at 36-37) several cases for the proposition that

complying with a production order moots a challenge to a contempt finding

premised on that order. But nearly all lacked a still-contested monetary sanction.

The presence of such a sanction is a critical distinction—as Twitter explained (at

43-44), and the government does not answer. Only two cases in the government’s



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brief involved such a sanction. One is In re Grand Jury Subpoena Duces Tecum,

91-02922, 955 F.2d 670, 672 (11th Cir. 1992), which Twitter explained (at 44) is a

misguided outlier. The other is Washington Metropolitan Area Transit Authority v.

Amalgamated Transit Union, National Capital Local Division 689, 531 F.2d 617

(D.C. Cir. 1976), which the government misreads and actually confirms that this

appeal is not moot. There, two orders were premised on an underlying restraining

order: a preliminary injunction and a contempt judgment. See id. at 620. The

court held that the appeal of the injunction was moot because the enjoined activity

(a strike) had ended pursuant to the parties’ agreement. See id. The appeal of the

contempt judgment and its associated sanction, however, was not moot. See id. at

620-622.

        The government embraces (at 39 n.10) the extraordinary view that, to avoid

mootness, Twitter “had to disobey the Show Cause Order,” “be held in contempt,”

incur bankruptcy-threatening sanctions, and then hope for a stay of the sanctions’

accrual. That would, as Twitter explained (at 44-45), wreak havoc. It would

prolong the very investigatory delay that concerns the government and force

companies like Twitter to choose between their constitutional rights and financial

ruin.

        In any event, as Twitter explained (at 45), this Court can exercise

jurisdiction under the exception to mootness for issues “capable of repetition, yet



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evading review.” The government’s only response (in a footnote at 39 n.11) is that

it “does not intend to seek another search warrant and nondisclosure order for the

former President’s Twitter account.” That does not defeat the exception. Twitter

need show only a “reasonable likelihood” of being “subject[ed] to the same legal

wrong,” not that “the very same facts” will recur. Del Monte Fresh Produce Co. v.

United States, 570 F.3d 316, 325 (D.C. Cir. 2009). And as Twitter explained (at

45-46), and the government does not deny, the company can reasonably expect to

again be unable to fully litigate a request to hold warrant production pending

challenge to an accompanying non-disclosure order. Therefore, the exception

applies. See 13C Wright & Miller, Federal Practice and Procedure: Jurisdiction

§ 3533.8 (3d ed. Apr. 2023 Update) (mootness exception covers “[g]overnment

investigations” that “reflect patterns of recurring behavior”).

III.   THE GOVERNMENT CANNOT PERSUASIVELY DEFEND THE DISTRICT
       COURT’S ERRONEOUS ASSESSMENT OF THE CONTEMPT SANCTION

       A.    Like The District Court, The Government Fails To Account For
             Twitter’s Substantial Good-Faith Compliance With The February
             7 Show-Cause Order And Impermissibly Relies On Conduct Prior
             To February 7

       The government does not dispute that 1) Twitter substantially complied with

the Court’s Show-Cause Order by the February 7 deadline; 2) Twitter

demonstrated good faith in its post-February 7 compliance efforts; and 3) the

district court based the contempt sanction on Twitter’s conduct before the court



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issued the February 7 order. JA272, 387-389; U.S. Br. 49. These facts are

dispositive. Washington Metro., 531 F.2d at 621. As Twitter explained (Br. 49-

53), the district court’s reliance on pre-February 7 conduct was erroneous as a

matter of law and therefore requires the sanction’s vacatur. See Pullman-Standard

v. Swint, 456 U.S. 273, 284-285 (1982) (factual finding “made under an erroneous

view of controlling legal principles” is “clearly-erroneous”).3

      The government, like the district court, insists (at 49-50) Twitter’s pre-

February 7 conduct bears on its good faith in complying with the February 7 order.

Specifically, it faults Twitter (at 50, 54) for “not identify[ing] th[e] technical issues

or otherwise alert[ing] the Government about its inability to comply fully until

after the February 7 deadline” and accuses Twitter of using its First Amendment

concerns “as an excuse not to comply with … the Warrant.” According to the

government (at 50), Twitter should have done more before February 7 because it




3
  Citing Food Lion, Inc v. United Food & Commercial Workers International
Union, AFL-CIO-CLC, 103, F.3d 1007 (D.C. Cir. 1997), the government questions
(at 48) whether the good-faith-and-substantial-compliance defense “survives” in
this circuit. That is wrong. Washington Metropolitan remains “circuit precedent”
because it has not been “overruled either by an en banc court or the Supreme
Court.” Maxwell v. Snow, 409 F.3d 354, 358 (D.C. Cir. 2005). The remark in
Food Lion that “one [district] judge” suggested that National Labor Relations
Board v. Blevins Popcorn Co., 659 F.2d 1173, 1184 (D.C. Cir. 1981), casts doubt
on Washington Metropolitan, 103 F.3d at 1017 n.15, is irrelevant because Blevins
did not address Washington Metropolitan or the good-faith-and-substantial-
compliance defense. See 659 F.2d at 1184.

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would have been required to produce the Warrant returns even had the district

court “resolved the separate [constitutional] challenge in Twitter’s favor.”

       The government is wrong that Twitter would necessarily have had to

produce on the Warrant, as adjudicating any executive privilege claim could have

altered Twitter’s production obligations. Regardless, the pre-February 7 conduct is

legally irrelevant. As Twitter explained (Br. 40), and the government

acknowledges (at 55), other than compensation (irrelevant here), the sole purpose

of civil contempt sanctions is to “exert a constant coercive pressure” to comply

with the order and therefore may not be “imposed retrospectively for a completed

act of disobedience.” International Union, United Mine Workers of Am. v.

Bagwell, 512 U.S. 821, 828-829 (1994) (cleaned up). Rather, the court must focus

on the contemnor’s “compliance efforts” with the contempt order, not on “events

that occurred before the fine started to accrue.” Washington Metro., 531 F.2d at

621.

       The government’s sole cited case to the contrary involved a contempt

sanction where the district court “placed great weight on the long history of the

discovery dispute.” In re Fannie Mae Sec. Litig., 552 F.3d 814, 822-823 (D.C. Cir.

2009). The government argues (at 51) that Fannie Mae suggests “courts may

permissibly consider the contemnor’s conduct over the full course of the litigation

… when assessing whether the contemnor has carried its burden.” That is wrong.



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Fannie Mae’s statement about the “long history of the discovery dispute” referred

entirely to the contemnor’s conduct after the relevant order (a 5-month-old

discovery order) was issued. 552 F.3d at 822. Neither the district court nor this

Court addressed pre-order conduct in evaluating whether the contemnor had

substantially complied in good faith.4

      The government suggests (at 53) Washington Metropolitan is inapposite

because it involved “the difficulty in coordinating a return to work for a large-scale

union in an era with communication unlike the present day.” But those facts did

not affect either the district or appellate court’s evaluation of good-faith substantial

compliance. This Court instead explained that the relevant error was, as here, the

district court’s focus on “events that occurred before the fine started to accrue.”

531 F.2d at 621.5




4
  Fannie Mae also involved the second stage of contempt proceedings:
determining whether the contemnor’s good-faith compliance with the discovery
order (issued at stage one) could excuse contempt. Here, as in Washington
Metropolitan, we are at the third stage: determining whether Twitter’s good-faith
compliance with the contempt order (issued at stage two for noncompliance with
the Warrant), should mitigate “the threatened penalty.” Blevins, 659 F.2d at 1185.
5
 The government also concedes (at 53) that Washington Metropolitan requires
courts to exhibit “[f]lexibility” when determining contempt sanctions and to
consider any “complexit[ies],” “ambiguities,” and “difficulties” involved in
compliance, but ignores that the district court failed to do so. (First brackets in
original.) The government cannot cure that error by hypothesizing how the district
might have applied those factors.


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      In any event, the government and district court have mischaracterized

Twitter’s pre-February 7 attempts to comply with the Warrant and secure

necessary clarifications regarding its scope while simultaneously litigating its

constitutional claims. Upon learning of the Warrant on January 25, Twitter

immediately directed preservation of all responsive data within its standard tooling

and, on January 31 (a date the government agreed to four days prior), alerted the

government to its First Amendment concerns. JA50-51. On February 1, Twitter

informed the government it would need to clarify “technical issues” with the

Warrant (i.e., its scope) so that Twitter would be able to “respond[].” JA276-277.

After the government rebuffed that request for clarification, Twitter explained in

its February 2 motion to vacate that it believed the Order was unconstitutional but

had nevertheless preserved responsive data within its standard tooling. JA8, 14.

And on February 5, Twitter offered to produce responsive data to be held by the

court without review pending litigation, but the government refused. JA42.

Ultimately, because of Twitter’s pre-February 7 efforts, and consistent with its

statement to the court that it “believe[d] it was prepared” to produce, Twitter

produced all responsive data within its standard tooling within two hours of the

February 7 order (by the 5pm deadline). JA210, 274. And once the government

finally clarified the Warrant’s scope—only after the February 7 deadline passed

and the district court intervened at Twitter’s urging on February 9—Twitter went



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to great lengths to produce the remaining data from outside its standard tooling,

even as the government provided additional “clarifications” through late afternoon

on February 9. JA276-277; Twitter Br. 13-15, 47-48.

      Although the government acknowledges Twitter’s February 1 attempt to

discuss the Warrant’s technical issues, it improperly and inaccurately faults Twitter

(at 50, 57) for failing to more aggressively “pursue negotiations” and accuses

Twitter’s “lawyers” of slowing down its “engineers.” The government, however,

omits its own refusal to negotiate with Twitter at each turn, and like the district

court, ignores Twitter’s other compliance efforts prior to February 7. As shown,

Twitter litigated its constitutional claims while simultaneously preparing

production and unsuccessfully attempting to elicit necessary clarifications from the

government. Even if this conduct were legally relevant, the record demonstrates

that Twitter did its best to clarify and comply “prior to any filing in this case.”

JA267; see Search Warrant Issued June 13, 2019, 942 F.3d at 182 (“We do not

fault the Law Firm for seeking a negotiated resolution [and] … will not reward the

government for ignoring those efforts.”).

      B.     The Government Concedes The District Court Sanctioned Twitter
             For Its Assertion Of Legal Rights

      The government concedes (at 54) the district court committed clear error if it

“punished Twitter for even trying to protect its constitutional rights.” And the

government concedes (at 52) the district court assessed sanctions based on “the


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legal justifications Twitter had relied on to refuse compliance with the Warrant,”

i.e., Twitter’s argument that the First Amendment required resolution of its

challenge to the Order before Warrant production. Those concessions together

require vacatur of the sanctions. See Twitter Br. 54-55; Shelton v. United States,

404 F.2d 1292, 1299-1300 (D.C. Cir. 1968) (party suspecting production order

might violate constitutional rights may “avoid contempt for complete

noncompliance” by “inform[ing]” ordering authority “of [that] position”).

      Citing nothing, the government claims (at 54) the court’s reliance on

Twitter’s assertion of its legal rights as a basis for sanctions “is not equivalent to

punishing Twitter for raising such a claim in the first place.” That makes no sense.

Basing a contempt sanction on an assertion of a colorable constitutional right

punishes that assertion. Much like the district court’s dismissive treatment of

Twitter’s constitutional claims, see Twitter Br. 14-15 (citing examples), the

government’s position is improper and only serves to chill future defense of

constitutional rights.

      C.     The Government’s Examples Of “Comparable” Sanctions
             Further Demonstrate This Sanction Was Unprecedented And
             Unreasonable

      In its opening brief, Twitter explained that three features of the contempt

sanction made it excessive and therefore impermissibly punitive: the sanctions

schedule—$50,000 per day, doubling daily; the amount of the sanction ultimately



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imposed—$350,000; and the gravity of non-compliance for which it was

imposed—a mere 51 hours during which the court determined it was “clear”

Twitter had been “working hard” to comply. JA272; see Twitter Br. 55-59; supra

pp.25-26. In response, and citing nothing, the government asserts (at 56) the

sanction was reasonable because it was “commensurate with the gravity of

Twitter’s non-compliance and Twitter’s ability to pay.”

      “One of the best tests of reasonableness is a comparison,” Aluminum

Company of America v. Interstate Commerce Commission, 581 F.2d 1004, 1008

(D.C. Cir. 1978), and like the cases Twitter cited (Br. 56-58), the government’s

cases show that the sanction wildly exceeds ordinary practice. The only

“escalating” penalty it finds was $1,000 per day for the first month, $2,000 per day

for the second, and so on. Pigford v. Veneman, 307 F. Supp. 2d 51, 57 (D.D.C.

2004), cited in U.S. Br. 55-56. At that rate, the Pigford sanction would have taken

almost 4.5 months of non-compliance to equal the $350,000 sanction imposed on

Twitter for 51 hours. All other sanction schedules the government cites increased

linearly, and they too were vastly smaller. The largest was “a daily imposition of a

$50,000 fine … for multi-billion-dollar banks.” In re Grand Jury Investigation of

Possible Violations of 18 U.S.C. § 1956 & 50 U.S.C. § 1705, 2019 WL 2182436, at

*5 (D.C. Cir. Apr. 10, 2019), cited in U.S. Br. 56. That schedule would have taken

seven days to equal the $350,000 penalty imposed on Twitter; after seven days,



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Twitter’s sanction would have been $6.35 million—and still increasing

exponentially.

      As for Twitter’s supposed ability to pay, the government does not suggest

Twitter has greater financial resources than the “multi-billion dollar banks”

subjected to the far less onerous sanction in Grand Jury. Further, the government

does not deny that Twitter has not turned a profit since 2019. Twitter Br. 57. Nor

is the personal wealth of Twitter’s owner relevant.

      Finally, the government does not deny that, as the district court found,

Twitter “work[ed] hard” to produce the remaining documents after the February 7

order, JA272, 387, nor suggest there was anything more Twitter could have done

after February 7 to comply faster—particularly given the government’s and district

court’s necessary clarifications through February 9, JA272, 276-277. Rather, the

government again faults (at 57) Twitter for pre-February 7 conduct, which, as

explained, is impermissible and inaccurate, supra pp.21-26.

                                  CONCLUSION

      For the foregoing reasons, the Court should reverse the judgment, vacate the

Non-Disclosure Order, and vacate the contempt sanction.




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                              Respectfully submitted,

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May 5, 2023




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                  CERTIFICATE OF COMPLIANCE WITH
               TYPEFACE AND WORD-COUNT LIMITATIONS

       Pursuant to Federal Rule of Appellate Procedure 32(g) and D.C. Circuit Rule

32(e)(2)(C), the undersigned hereby certifies that this brief complies with the type-

volume limitation of Federal Rule of Appellate Procedure 32(a)(7)(B).

       1.      Exclusive of the exemption portions of the brief, as provided in

Federal Rule of Appellate Procedure 32(f), the brief contains 6,498 words.

       2.      The brief has been prepared in proportionally spaced typeface using

Microsoft Office for Microsoft 365 MSO in 14-point Times New Roman font. As

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relied upon the word count feature of this word processing system in preparing this

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                                                s/ Ari Holtzblatt
                                                ARI HOLTZBLATT


May 5, 2023
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                           CERTIFICATE OF SERVICE

      I hereby certify that on this 5th day of May, 2023, I caused the foregoing to

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